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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE



 LORI SAVAGE,

          Plaintiff,

              v.                                            Case No. 1:21-CV-00104-GZS

 LIFE INSURANCE COMPANY OF NORTH
 AMERICA and PIXELLE SPECIALTY
 SOLUTIONS LLC,

          Defendants.



                                 NOTICE OF SETTLEMENT

       NOW COME the parties Plaintiff Lori Savage and Defendants Life Insurance Company of

North America and Pixelle Specialty Solutions LLC, by and through counsel, and hereby notify

the Court that a settlement has been reached as to all claims pending in this action and the parties

intend to file a stipulation of dismissal within thirty (30) days of this Notice pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

  Dated: July 14, 2021

  By: /s/ Tamra J. Wallace                       /s/ Kyle N. Kirby
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 14, 2021, I electronically filed the within document using the

CM/ECF system which will send notification of such filing(s) to the following:

Tamra J. Wallace, Esq.
LAMBERT COFFIN
Two Monument Square, Suite 400
Portland, ME 04101



Dated: July 14, 2021

                                             /s/ Kyle N. Kirby
                                             Kyle N. Kirby




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                                            {W6578423.1}
